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                                                                                                    (2 of 2)




                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                                 Filed: August 20, 2013




Mr. Shea W. Conley

Mr. Matthew T. Lockaby

Ms. Lauren Desiree Lunsford

Mr. Zachary LeRoy Taylor


                     Re: Case No. 13-5956/13-5979, Gregory Bickley v. Dish Network LLC, et al
                         Originating Case No. : 3:10-cv-00678

Dear Sir or Madam,

   The Court issued the enclosed Order today in this case.

                                                 Sincerely yours,

                                                 s/Louise Schwarber
                                                 Case Manager
                                                 Direct Dial No. 513-564-7015

cc: Ms. Vanessa L. Armstrong

Enclosure
